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                                   ANNEX I

               Plaintiff’s Response to Defendants’ Opposition to
           Trailblazer Studios’ Request to Record Trial Proceedings
                                                                                                                                                          Case 23-12825-MBK             Doc 4-9     Filed 04/04/23 Entered 04/04/23 16:35:04                     Desc
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                                                                                                                                                           1 Joseph D. Satterley (C.S.B. #286890)
                                                                                                                                                             Denyse F. Clancy (C.S.B. #255276)
                                                                                                                                                           2 Ian A. Rivamonte (C.S.B. #232663)
                                                                                                                                                              irivamonte@kazanlaw.com
                                                                                                                                                           3 KAZAN, McCLAIN, SATTERLEY & GREENWOOD
                                                                                                                                                             A Professional Law Corporation
                                                                                                                                                           4 Jack London Market
                                                                                                                                                             55 Harrison Street, Suite 400
                                                                                                                                                           5 Oakland, California 94607
                                                                                                                                                             Telephone: (510) 302-1000
                                                                                                                                                           6 Facsimile: (510) 835-4913

                                                                                                                                                           7 Attorneys for Plaintiff

                                                                                                                                                           8                                    SUPERIOR COURT OF CALIFORNIA
                                                                         Jack London Market • 55 Harrison Street, Suite 400 • Oakland, California 94607




                                                                                                                                                           9                                            COUNTY OF ALAMEDA
Kazan, McClain, Satterley & Greenwood




                                                                                                                                                          10 ANTHONY HERNANDEZ VALADEZ,                                     Case No. 22CV012759
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                                                                                                                                                          11                    Plaintiff,                                    PREFERENCE MOTION GRANTED

                                                                                                                                                          12               v.                                                   Assigned for All Pre-Trial Purposes to
                                        A Professional Law Corporation




                                                                                                                                                                                                                                       Judge Richard Seabolt
                                                                                                                                                          13 JOHNSON & JOHNSON, et al.,                                                    Department 18

                                                                                                                                                          14                    Defendants.                                 PLAINTIFF’S RESPONSE TO
                                                                                                                                                                                                                            DEFENDANTS’ OPPOSITION TO
                                                                                                                                                          15                                                                TRAILBLAZER STUDIOS’ REQUEST
                                                                                                                                                                                                                            TO RECORD TRIAL PROCEEDINGS
                                                                                                                                                          16
                                                                                                                                                                                                                            Case Filed:   June 15, 2022
                                                                                                                                                          17                                                                Trial Date:   April 17, 2023

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                                                                                                                                                                    Plaintiff’s Response to Defendants’ Opposition to Trailblazer Studios’ Request to Record Trial Proceedings
                                                                                                                                                          Case 23-12825-MBK              Doc 4-9     Filed 04/04/23 Entered 04/04/23 16:35:04                    Desc
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                                                                                                                                                           1               This Court has the discretion to permit, refuse, or limit Trailblazer Studios’ access to

                                                                                                                                                           2 record this case’s trial proceedings. [Cal. Rules of Ct., rule 1.150(e); People v. Dixon (2007) 148

                                                                                                                                                           3 Cal.App.4th 414, 437.] In exercising that discretion, this Court should disregard Defendants’

                                                                                                                                                           4 argument that Trailblazer Studios’ request is “improper” under Civil Code section 3344(a) because

                                                                                                                                                           5 it purportedly “would violate California law prohibiting profit from the use and likeness of an

                                                                                                                                                           6 individual absent their consent.” [Defendants’ Opp. at 8.] Defendants are wrong because

                                                                                                                                                           7 subdivision (d) of section 3344 states that matters of “public affairs,” including this case “shall

                                                                                                                                                           8 not constitute a use for which consent is required under subdivision (a).” [Civ. Code § 3344(d)
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                                                                                                                                                           9 (emphasis added).]
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                                                                                                                                                          10               In California, a plaintiff may allege misappropriation of their name or likeness under Civil
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                                                                                                                                                          11 Code section 3344(a). However, “no cause of action will lie” under a section 3344 claim for

                                                                                                                                                          12 misappropriation “for the ‘[p]ublication of matters in the public interest, which rests on the right
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                                                                                                                                                          13 of the public to know and the freedom of the press to tell it.’” [Montana v. San Jose Mercury

                                                                                                                                                          14 News, Inc. (1995) 34 Cal.App.4th 790, 793; see also Eliott v. Lions Gate Entertainment Corp.

                                                                                                                                                          15 (C.D. Cal., Nov. 8, 2022, No. 221CV08206SSSDFMX) 2022 WL 17408662, at *9 (citing to

                                                                                                                                                          16 Montana, 34 Cal.App.4th at 793).] Indeed, section 3344(d) states that “[f]or purposes of” section

                                                                                                                                                          17 3344, “a use of a name, voice, signature, photograph, or likeness in connection with any news,

                                                                                                                                                          18 public affairs, or sports broadcast or account, or any political campaign, shall not constitute a use

                                                                                                                                                          19 for which consent is required under subdivision (a).” [Civ. Code § 3344(d) (emphasis added).]

                                                                                                                                                          20               For example, in Eliott, the plaintiff claimed that the at-issue documentary “suggests that he

                                                                                                                                                          21 was a ‘recruiter and member of a purported sex cult.’” [Eliott, 2022 WL 17408662, at *7.]

                                                                                                                                                          22 Applying section 3344 and California authorities interpreting it, the federal district court held that

                                                                                                                                                          23 the plaintiff had no valid claim for improper use of his name and likeness because the at-issue

                                                                                                                                                          24 documentary involved “a matter of public interest.” [Id. at *9.] “And as California’s courts have

                                                                                                                                                          25 held, even private individuals cannot state a claim for misappropriation for their portrayal in a

                                                                                                                                                          26 publication concerning a public matter.” [Id. (citing Dora v. Frontline Video, Inc. (1993) 15

                                                                                                                                                          27 Cal.App.4th 536, 543).]

                                                                                                                                                          28               Defendants’ bad-faith bankruptcy and infliction of further harm upon mesothelioma

                                                                                                                                                               3247451.1                                                2
                                                                                                                                                                    Plaintiff’s Response to Defendants’ Opposition to Trailblazer Studios’ Request to Record Trial Proceedings
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                                                                                                                                                           1 victims like Plaintiff Anthony Hernandez Valadez is a “matter of public interest.” [See, e.g.,

                                                                                                                                                           2 Spector, M., Judge Indicates Intention to Dismiss J&J Talc Unit Bankruptcy (Feb. 14, 2023)

                                                                                                                                                           3 Reuters <https://tinyurl.com/2tum2v4y> (as of Mar. 23, 2023).] Indeed, Mr. Valadez’s case is the

                                                                                                                                                           4 only one allowed to proceed to trial despite the bankruptcy stay affecting thousands of other talc

                                                                                                                                                           5 claimants. [Church, S., J&J Must Face Baby Powder Suit From 24-Year-Old With Cancer (Feb.

                                                                                                                                                           6 14, 2023) Bloomberg Law <https://tinyurl.com/4jwva59n> (as of Mar. 23, 2023).] Thus,

                                                                                                                                                           7 Defendants’ claim that “Court approval” of Trailblazer Studios’ “request creates a myriad of legal

                                                                                                                                                           8 concerns and potential liabilities” is unfounded. Their argument also contradicts Rule 1.150 and
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                                                                                                                                                           9 Code of Civil Procedure section 124 because, under Defendants’ mistaken interpretation of
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                                                                                                                                                          10 California law, it creates a presumption against recording or broadcasting court proceedings. [Cal.
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                                                                                                                                                          11 Rules of Ct., rule 1.150(a) (“This rule does not create a presumption for or against granting

                                                                                                                                                          12 permission to photograph, record, or broadcast court proceedings.”); see also Code Civ. Proc.
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                                                                                                                                                          13 § 124 (generally, “the sittings of every court shall be public”).]

                                                                                                                                                          14               Defendants’ arguments that Civil Code section 3344 “should cause the court additional

                                                                                                                                                          15 concern” are unfounded and inconsistent with the law. Accordingly, Plaintiff requests that this

                                                                                                                                                          16 Court disregard Defendants’ section 3344 arguments in exercising its discretion to permit, refuse,

                                                                                                                                                          17 or limit Trailblazer Studios’ access to record the trial proceedings in this case.

                                                                                                                                                          18

                                                                                                                                                          19 DATED: March 23, 2023                              KAZAN, McCLAIN, SATTERLEY & GREENWOOD
                                                                                                                                                                                                                A Professional Law Corporation
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                                                                                                                                                          22                                                    By:
                                                                                                                                                                                                                       Ian A. Rivamonte
                                                                                                                                                          23
                                                                                                                                                                                                                Attorneys for Plaintiff
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                                                                                                                                                                    Plaintiff’s Response to Defendants’ Opposition to Trailblazer Studios’ Request to Record Trial Proceedings
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                                                                                                                                                           1                                              PROOF OF SERVICE

                                                                                                                                                           2                          Anthony Hernandez Valadez v. Johnson & Johnson, et al.
                                                                                                                                                                                      Alameda County Superior Court Case No. 22CV012759
                                                                                                                                                           3
                                                                                                                                                                   At the time of service, I was over 18 years of age and not a party to this action. I am
                                                                                                                                                           4 employed in the County of Alameda, State of California. My business address is Jack London
                                                                                                                                                             Market, 55 Harrison Street, Suite 400, Oakland, CA 94607.
                                                                                                                                                           5
                                                                                                                                                                   On March 23, 2023, I served true copies of the following document(s) described as:
                                                                                                                                                           6
                                                                                                                                                                   PLAINTIFF’S RESPONSE TO DEFENDANTS’ OPPOSITION TO
                                                                                                                                                           7 TRAILBLAZER STUDIOS’ REQUEST TO RECORD TRIAL PROCEEDINGS

                                                                                                                                                           8 on the interested parties in this action as follows:
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                                                                                                                                                           9                                      SEE ATTACHED SERVICE LIST
Kazan, McClain, Satterley & Greenwood




                                                                                                                                                          10         BY ELECTRONIC SERVICE: I electronically served the document(s) by using the File
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                                                                                                                                                             & ServeXpress system. Participants in the case who are registered users will be served by the File
                                                                                                                                                          11 & ServeXpress system. Participants in the case who are not registered users will be served by
                                                                                                                                                             mail or by other means permitted by the court rules.
                                                                                                                                                          12
                                        A Professional Law Corporation




                                                                                                                                                                     I declare under penalty of perjury under the laws of the State of California that the
                                                                                                                                                          13 foregoing is true and correct.

                                                                                                                                                          14               Executed on March 23, 2023, at Tracy, California.

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                                                                                                                                                           1                                                  SERVICE LIST

                                                                                                                                                           2 BARNES & THORNBURG LLP                                      KING & SPALDING LLP
                                                                                                                                                             2029 Century Park East, Suite 300                           633 West 5th Street,
                                                                                                                                                           3 Los Angeles CA 90067                                        Suite 1600
                                                                                                                                                             Telephone: (310)284-3880                                    Los Angeles CA 90071
                                                                                                                                                           4 Facsimile: (310)284-3894                                    Telephone: 213-443-4351
                                                                                                                                                             FOR: ALBERTSONS COMPANIES, INC.,                            Facsimile: 213-443-4310
                                                                                                                                                           5 ALBERTSONS COMPANIES, INC.sii/pae/et                        FOR: JOHNSON & JOHNSON , LTL
                                                                                                                                                             LUCKY STORES, INC., LUCKY STORES,                           MANAGEMENT LLC, LTL MANAGEMENT
                                                                                                                                                           6 INC., SAFEWAY INC., SAVE MART                               LLC sii/pae/et JOHNSON & JOHNSON
                                                                                                                                                             SUPERMARKETS , SAVE MART                                    BABY PRODUCTS COMPANY, LTL
                                                                                                                                                           7 SUPERMARKETS sii/pae/et LUCKY                               MANAGEMENT LLC sii/pae/et JOHNSON &
                                                                                                                                                             STORES, INC., TARGET CORPORATION,                           JOHNSON CONSUMER INC.
                                                                                                                                                           8 WALMART INC.
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                                                                                                                                                           9 SPANOS PRZETAK
                                                                                                                                                             555 12th Street
Kazan, McClain, Satterley & Greenwood




                                                                                                                                                          10 Suite 2060
                                                                                  (510) 302-1000 • Fax: (510) 835-4913 • www.kazanlaw.com




                                                                                                                                                             Oakland CA 94607
                                                                                                                                                          11 Telephone: (510) 250-0200
                                                                                                                                                             Facsimile: (510) 380-6354
                                                                                                                                                          12 FOR: DESIGNATED DEFENSE COUNSEL
                                        A Professional Law Corporation




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                                                                                                                                                                    Plaintiff’s Response to Defendants’ Opposition to Trailblazer Studios’ Request to Record Trial Proceedings
